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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


IN RE MEDIA APPLICATION FOR
AUDIOVISUAL ACCESS TO TRIAL                       Case No. 23-mc-99-TSC
PROCEEDINGS IN UNITED STATES
OF AMERICA V. DONALD J. TRUMP


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Pending before this Court is the Media Coalition’s Application for Audiovisual Access

(ECF 1) to the trial proceedings in United States v. Trump, No. 23-cr-257. In opposing that

Application, the Government asserts that it “is clearly foreclosed under Rule 53 of the Federal

Rules of Criminal Procedure.” Opp. at 1 (ECF 16). The Media Coalition therefore respectfully

submits, as supplemental authority, a Public Advisory that the D.C. Circuit issued regarding oral

argument held on January 9, 2024 in United States v. Trump, No. 23-3228. The argument

concerned Defendant Trump’s appeal from the denial of his motion to dismiss on the basis of

presidential immunity, and as the Public Advisory notes, the D.C. Circuit ensured that “audio of

the oral arguments [was] live streamed on the Court’s YouTube channel.” That allowed, in real

time, the public to hear and the press to report on a criminal proceeding of exceptional

importance to the nation, including, inter alia, this extraordinary exchange between Trump’s

counsel and Judge Florence Y. Pan:

               Judge Pan: I asked you a yes or no question. Could a president
               who ordered SEAL Team 6 to assassinate a political rival, who
               was not impeached, would he be subject to criminal prosecution?

               Counsel: If he were impeached and convicted first.

               Judge Pan: So your answer is no.

See https://www.youtube.com/watch?v=PEQ1aToavl8 at 8:35 – 8:54; see also, e.g.,

https://www.c-span.org/video/?532581-1/district-columbia-circuit-court-oral-arguments-

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president-trumps-immunity-claims (carrying the Court’s live streaming audio).

       The Media Coalition brings this Public Advisory to the Court’s attention because – to the

benefit of the public and the court itself, and without objection from the Government – the D.C.

Circuit provided contemporaneous audio access to a criminal appellate proceeding even though

the D.C. Circuit, too, is subject to Rule 53. Fed. R. Crim. P. 1(a)(1) (“These rules govern the

procedure in all criminal proceedings in the United States district courts, the United States courts

of appeals, and the Supreme Court of the United States.”). The Media Coalition therefore urges

this Court to follow the lead of the D.C. Circuit and, at a minimum, provide live streaming audio

of the criminal trial proceedings in United States v. Trump as well.

       Dated: January 23, 2024            Respectfully submitted,

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                                          Counsel for the Media Coalition1


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  The Media Coalition includes E.W. Scripps Company (operator of Court TV), as well as
Advance Publications, Inc., American Broadcasting Companies, Inc. d/b/a ABC News, The
Associated Press, Bloomberg L.P., Cable News Network, Inc., Dow Jones & Company, Inc.,
publisher of The Wall Street Journal, Los Angeles Times Communications LLC, National
Association of Broadcasters, National Cable Satellite Corporation d/b/a C-SPAN, National Press
Photographers Association, News/Media Alliance, The New York Times Company, POLITICO
LLC, Radio Television Digital News Association, Society of Professional Journalists, TEGNA
Inc., Univision Networks & Studios, Inc., and WP Company LLC d/b/a The Washington Post.
Reuters News & Media Inc. has filed notice that it also joins the Media Coalition’s Application.
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                          United States Court of Appeals
                                         District of Columbia Circuit
                                        Washington, D.C. 20001-2866
Mark J. Langer                                                                               General Information
Clerk                                                                                            (202) 216-7000


                                  FOR IMMEDIATE RELEASE

      December 22, 2023

      Public Advisory – January 9, 2024 Oral Arguments in No. 23-3228, United
      States of America v. Donald J. Trump

      Argument Date & Time: Tuesday, January 9, 2024, at 9:30 a.m.

      Courtroom: Oral arguments will be heard in Courtroom 31 on the Fifth Floor.

      Overflow Courtroom: An audio-video feed of the oral arguments will be broadcast to an
      overflow courtroom (location to be announced), if needed. All rules pertaining to Courtroom 31
      (e.g., restrictions on the use of electronic devices) apply to the overflow courtroom as well.

      Public Seating: Public seating is limited and will be on a first-come, first-seated basis.

      Reserved Media Seating: There will be a limited number of seats set aside for the media. Media
      will be seated on a first-come, first-seated basis until all the media seating is filled. Media
      representatives may then use the public seating line. There will also be a Media Room on the
      Fifth Floor where members of the media can watch the audio-video feed of the oral arguments and
      use laptops and other electronic devices. The same rules that apply to the District Court’s Media
      Room will apply to the Court of Appeal’s Media Room (Media Policy).

      Reserved Seating for the Parties: There will be a limited number of seats set aside for the
      arguing attorneys. The arguing attorneys have a point of contact to handle their reserved seating
      allocations. Persons with reserved seating should be at the courtroom no later than 8:45 a.m.

      Line Standers: Only individuals who actually plan to attend the oral arguments will be allowed
      to line up inside the courthouse for the arguments. “Line standers” are not permitted. No one will
      be allowed to hold spaces for other individuals.

      Live Streaming: The audio of the oral arguments will be live streamed on the Court’s YouTube
      channel. To minimize congestion on the Court’s website, the public is encouraged to go directly
      to the YouTube channel by using this link:

      https://www.youtube.com/USCourtsCADC




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Courthouse Entrances: The 3rd Street Entrance the John Marshall Park Entrance will open to the
public at 7:00 a.m.

Security Screening: Individuals attending the oral arguments should allow sufficient time to
pass through security screening. Please keep in mind that there may be activity in the District
Court that could affect how long it takes to clear security screening. For more information, see
our Security Screening Policy.

Use of Electronic Devices: All visitors are expected to follow the Electronic Device Policy of
the Court.

Press Conferences and Media Interviews: Press conferences and media interviews may not be
conducted inside the courthouse and annex. Press conferences are typically held in front of the
courthouse on the plaza facing Constitution Avenue. For more information, see our Media Policy.

Audio Recording: An audio recording of the oral arguments will be available by 3:00 p.m. on
January 9, 2024.


For more information, contact the Clerk’s Office at WebInformation@cadc.uscourts.gov or 202-
216-7300.




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